          Case 2:19-cv-00644-RAJ Document 171 Filed 01/07/21 Page 1 of 2



 1                                                        Hon. Richard A. Jones
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 5
                            UNITED STATES DISTRICT COURT
 6                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
 7

 8
     LYNNE HOUSERMAN,                         Lead Case: 2:19-cv-00644-RAJ
 9
                           Plaintiff,         ORDER SETTING AMENDED
10
           v.                                 TRIAL DATE AND PRETRIAL
11                                            DEADLINES
     COMTECH TELECOMMUNICATIONS
12
     CORPORATION, FRED KORNBERG,
13   and MICHAEL D. PORCELAIN,
14                         Defendants.
15
     TELECOMMUNICATION SYSTEMS,               Member Case: 2:19-cv-00336-RAJ
16   INC.,
                 Plaintiff,
17         v.
18
     LYNNE HOUSERMAN and MOTOROLA
19   SOLUTIONS, INC.,
20
                           Defendants.
21

22   JURY TRIAL DATE                                MARCH 15, 2021
23
     Length of Trial                                10 days
24
     Pretrial conference                            February 26, 2021, 2:00 PM
25

26   Agreed Pretrial Order due                      March 1, 2021


     ORDER SETTING AMENDED
     TRIAL DATE AND PRETRIAL DEADLINES – 1
          Case 2:19-cv-00644-RAJ Document 171 Filed 01/07/21 Page 2 of 2



 1   Trial briefs, proposed jury instructions,
     proposed voir dire, agreed neutral statement
 2
     of the case, deposition designations,
 3   and trial exhibits due                                  March 8, 2021
 4

 5         These are firm dates that can be changed only by order of the Court, not by

 6   agreement of counsel or the parties. The Court will alter these dates only upon good
     cause shown.
 7

 8

 9                                     SETTLEMENT

10          Should this case settle, counsel shall notify Victoria Ericksen as soon as
11   possible at victoria_ericksen@wawd.uscourts.gov. An attorney or party who fails to
12   give the Court prompt notice of settlement may be subject to such discipline as the

13   Court deems appropriate.

14
           DATED this 7th day of January, 2021.
15

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17
                                                      A
                                                      The Honorable Richard A. Jones
                                                      United States District Judge
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     ORDER SETTING AMENDED
     TRIAL DATE AND PRETRIAL DEADLINES – 2
